                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


CHINA PETROCHEMICAL DEVELOPMENT
CORPORATION,
          Plaintiff,                                    Case No.: 3:17-cv-02005-SRU

v.


PRAXAIR, INC., ANNE ROBY, JOHN PANIKAR,
VERNON THAD EVANS, JOYCE CHEN, YU
LING SHIEH, MEI LU, WILLIAM PEARCE,
STEVE RIDDICK, JAMES WILLIAM
SHAUGHNESSY, TOM SCHULTE,
STEVE ANGEL, MARK JOSEPH MURPHY and
PRAXAIR CHEMAX SEMICONDUCTORS
MATERIALS COMPANY LIMITED,
            Defendants.

                                          JUDGMENT

       This matter came on before the Honorable Stefan R. Underhill, United States District

Judge as a result of the defendant’s Motion to Dismiss (Doc. 107).

       The Court has considered all papers filed in conjunction with said motion and on April

20, 2021 entered an order (Doc. 109) granting Defendants’ motion.

       Therefore, it is ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendants Praxair, inc., Anne Roby, John Panikar, Vernon Thad Evans, Joyce Chen,

Yu Ling Shieh, Mei Lu, William Pearce, Steve Riddick, James William Shaughnessy, Tom

Schulte, Steve Angel, Mark Joseph Murphy and Praxair Chemax Semiconductors Materials

Company Limited and against plaintiff China Petrochemical Development Corporation, all in

accordance with the Court’s order and the case is closed.

       Dated at New Haven, Connecticut this 22nc day of April 2021.

                                                    ROBIN D. TABORA, Clerk

EOD: 04/22/21                                       By /s/ Donna Barry
                                                      Deputy Clerk
